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    A loan servicer will help you manage the repayment of your federal student loans—for
    free.


     A loan servicer is a company that handles the billing and other services on your federal
     student loan. The loan servicer will work with you on repayment plans and loan
     consolidation and will assist you with other tasks related to your federal student loan. It is
     important to maintain contact with your loan servicer. If your circumstances change at any
     time during your repayment period, your loan servicer will be able to help.



            Why pay for help with your federal student loans when your loan servicer will
            help you for FREE? Contact your servicer to apply for income-driven repayment
            plans, student loan forgiveness, and more.




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     Do I select my loan servicer?


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     No. Your loan is assigned to a loan servicer by the U.S. Department of Education (ED) after
     your loan amount is first disbursed (paid out). The loan has been disbursed when your
     school transfers your loan money to your school account, gives money to you directly, or a
     combination of both. Your loan is usually disbursed in at least two payments, and your loan
     servicer will contact you after the first payment is made to you.


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     Whom do I contact to get information about my loan?

     If your loan is for the current or upcoming school year, contact your school’s financial aid
     office directly for information about

            loan status,

            loan cancellation within 120 days of disbursement, and

            loan disbursement amounts and timing.

     Only your school's financial aid office can provide this information.

     If your loan was disbursed in a past school year and you’re still in school, contact your loan
     servicer when you

            change your name, address, or phone number;

            graduate;

            drop below half-time enrollment;

            stop going to school; or

            transfer to another school.

     If you’re no longer in school, contact your loan servicer when you

            change your name, address, or phone number;

            need help making your loan payment;

            have a question about your bill; or

            have other questions about your student loan.

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     Who is my loan servicer?

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     Visit My Federal Student Aid to view information about all of the federal student loans you
     have received and to find contact information for the loan servicer or lender for your
     loans.

     The following are loan servicers for federally held loans made through the William D. Ford
     Federal Direct Loan (Direct Loan) Program and the Federal Family Education Loan (FFEL)
     Program.

   Loan Servicer                                                               Contact


     CornerStone                                                                1-800-663-1662


     FedLoan Servicing (PHEAA)                                                  1-800-699-2908


     Granite State – GSMR                                                       1-888-556-0022


     Great Lakes Educational Loan Services, Inc.                                1-800-236-4300


     HESC/Edfinancial                                                           1-855-337-6884


     MOHELA                                                                     1-888-866-4352


     Navient                                                                    1-800-722-1300


     Nelnet                                                                     1-888-486-4722


     OSLA Servicing                                                             1-866-264-9762



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     Will ED ever transfer my federally held loans to a different servicer?

     Possibly. In some cases, ED needs to transfer loans from one servicer to another servicer on
     the federal loan servicer team. ED transfers loans as part of its efforts to ensure that all
     borrowers are provided with customer service and repayment support. If ED needs to
     transfer your federal student loans from your assigned servicer to another servicer, your
     loans will still be owned by ED. The “transfer” to another servicer on ED’s federal loan
     servicer team simply means that a new servicer will provide the support you need to fully
     repay your loans.
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     Here’s what you should expect if your loan is transferred to a new servicer:

            You may receive an email or a letter from your assigned servicer when your loans are transferred to
            the new servicer.

            You will receive a welcome letter from the new servicer after your loans are added to the new
            servicer’s system. This notice will provide you with the contact information for the new servicer and
            inform you of actions that you may need to take.

            All of your loan information will be transferred from your assigned servicer to your new servicer.

            There will be no change in the terms of your loans.

            Your previous loan servicer and new loan servicer will work together to make sure that all payments
            you make during the transfer process are credited to your loan account with the new servicer.

     After you receive the welcome letter from your new servicer, you should do the following:

            Begin sending your loan payments to your new servicer. If you use a bank or bill paying service to
            make your loan payments, update the new servicer’s contact information with the bank or bill
            paying service.

            Follow the new servicer’s instructions for creating an online account so that you can more easily
            communicate with the new servicer and keep track of your loan account.

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     Whom do I contact for information about my Federal Perkins Loan?

     If you have Federal Perkins Loans, here’s whom to contact for repayment information:

            Contact the school where you received your Federal Perkins Loan for details about repaying your
            loan. Your school may be the servicer for your loan.

            Contact the ECSI Federal Perkins Loan Servicer at 1-866-313-3797 if you know that your Federal
            Perkins Loan has been assigned to ED.

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     Whom do I contact for information about my FFEL Program loan that isn’t
     owned by ED?

     If you have privately-owned FFEL Program loans, contact your lender for details about
     repayment options and tools for your FFEL Program loans that are not owned by ED.


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     Whom do I contact for information about my Health Education Assistance Loan
     (HEAL) Program loan?

     If you’re not in default on your HEAL Program loan, contact your loan servicer for help
     with account-related questions. Use the contact information your loan servicer provided to
     you.

     If you’re in default on your HEAL Program loan, contact the Debt Collection Center for
     help with account-related questions:

     For mail sent via U.S. Postal Service:
     HHS Program Support Center
     Accounting Services, Debt Collection Center
     Mailstop 10230B
     7700 Wisconsin Avenue, Suite 8-8110D
     Bethesda, MD 20857

     For mail sent via UPS or FedEx:
     HHS Program Support Center
     Accounting Services, Debt Collection Center
     Mailstop Seventh Floor
     7700 Wisconsin Avenue, Suite 8-8110D
     Bethesda, MD 20814

     Phone: 301-492-4664

     Note: It is no longer possible to obtain a new HEAL Program loan. The making of new
     HEAL Program loans was discontinued on September 30, 1998.


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     What should I do if I am contacted by someone who wants to charge me fees to
     consolidate my federal student loans or to apply for an income-based repayment
     plan?

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     Contact your federal loan servicer; these services and more can be completed by your
     servicer for free! If you are contacted by a company asking you to pay
     "enrollment," "subscription," or "maintenance" fees to enroll you in a federal repayment
     plan or forgiveness program, you should walk away. Want to learn more? Read our blog
     post called "Don’t Be Fooled: You Never Have to Pay for Student Loan Help."


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      Understanding Delinquency and Default
      Resolving Disputes




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